
655 S.E.2d 836 (2007)
Roger BADROCK, In His Capacity as Administrator, C.T.A. for The Estate of Jane B. Pickard
v.
Carl Glenn PICKARD, Jr.
No. 457P07.
Supreme Court of North Carolina.
December 6, 2007.
Benjamin D. Overby, Wiley P. Wooten, Burlington, for Carl Pickard.
Daniel S. Bullard, Gibsonville, for Badrock.

ORDER
Upon consideration of the petition filed on the 12th day of September 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of December 2007."
HUDSON, J., recused.
